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                 4                                    UNITED STATES DISTRICT COURT
                 5                                           DISTRICT OF NEVADA
                 6                                                       ***
                 7       UNITED STATES OF AMERICA,                               Case No. 2:07-CR-60 JCM (LRL)
                 8                                               Plaintiff(s),                    ORDER
                 9                v.
               10        LAANCE GRANDBERRY, et al.,
               11                                             Defendant(s).
               12
               13                 Presently before the court is the matter of United States of America v. Grandberry et al.,
               14       2:07-cr-00060-JCM-VCF-2.
               15                 Pro se defendant Laurice McCurdy file a motion for return of property. The motion
               16       requests that “personal property and miscellaneous paperwork” seized in event number 070210-
               17       0827, on February 10, 2007, by the Las Vegas Metropolitan Police Department be returned
               18       because the case is now closed. (ECF No. 163).
               19                 Defendant provides no further details or explanation as to this underlying event or the
               20       property sought. Thus, the court is unable to grant relief. Therefore, defendant’s motion will be
               21       denied.
               22                 Accordingly,
               23                 IT IS HEREBY ORDERED that defendant McCurdy’s motion for return of property (ECF
               24       No. 163) be, and the same hereby is, DENIED.
               25                 DATED December 7, 2016.
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               27                                                       UNITED
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                                                                         NITED
                                                                             EDD STATES DISTRICT JUDGE
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James C. Mahan
U.S. District Judge
